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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                                        )
CREATIVE IMPACT INC.;                                   )
CREATIVE IMPACT (HONG KONG) LIMITED;                    )
ZURU LLC;                                               )
ZURU INC.,                                              ) Case No.: 1:19-cv-05630
                                                        )
       Plaintiffs,                                      )
                                                        )
v.                                                      )
                                                        )
THE 425 INDIVIDUALS, CORPORATIONS,                      )
LIMITED LIABILITY COMPANIES,                            )
PARTNERSHIPS, AND                                       )
UNINCORPORATED ASSOCIATIONS                             )
IDENTIFIED ON SCHEDULE A HERETO,                        )
                                                        )
       Defendants.                                      )


                                         COMPLAINT

       Plaintiffs CREATIVE IMPACT INC., ZURU LLC, CREATIVE IMPACT (HONG

KONG) LIMITED, and ZURU INC. (collectively “Plaintiffs”), by their undersigned counsel,

hereby complain of the Individuals, Corporations, Limited Liability Companies, Partnerships,

and Unincorporated Associations identified on Schedule A attached hereto (collectively,

“Defendants”), and for their Complaint hereby allege as follows:

                                JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq., 28 U.S.C. § 1338(a)–(b),

and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under

the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a) because the state law claims are




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so related to the federal claims that they form part of the same case or controversy and derive

from a common nucleus of operative facts.

        2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants, because each of the Defendants directly

targets consumers in the United States, including Illinois, through at least the fully interactive

commercial Internet stores operating under the Defendant Domain Names and/or the Online

Marketplace Accounts identified in Schedule A attached hereto (collectively, the “Defendant

Internet Stores”). Specifically, Defendants are reaching out to do business with Illinois residents

by operating one or more commercial, interactive Internet Stores through which Illinois residents

can purchase products bearing counterfeit versions of Plaintiffs’ trademark. Each of the

Defendants has targeted sales from Illinois residents by operating online stores that offer

shipping to the United States, including Illinois, accept payment in U.S. dollars, and, on

information and belief, has sold products bearing counterfeit versions of Plaintiffs’ federally

registered trademark to residents of Illinois. Each of the Defendants is committing tortious acts

in Illinois, is engaging in interstate commerce, and has wrongfully caused Plaintiffs substantial

injury in the State of Illinois.

                                        INTRODUCTION

        3.      This action has been filed by Plaintiffs to combat online counterfeiters who trade

upon Plaintiffs’ reputation and goodwill by selling and/or offering for sale products in connection

with the Plaintiffs’ ROBO FISH and ROBO ALIVE trademarks, which are covered by U.S.

Trademark Registration Nos. 4,440,702 and 5,294,215, respectively. The Registrations are valid,

subsisting, and in full force and effect. A true and correct copy of the federal trademark

registration certificate for the ROBO FISH mark is attached hereto as Exhibit 1. A true and



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correct copy of the federal trademark registration certificate for the ROBO ALIVE mark is

attached hereto as Exhibit 2.

        4.      The Defendants create numerous Defendant Internet Stores and design them to

appear to be selling genuine Plaintiff products, while selling inferior imitations of Plaintiffs’

products. The Defendant Internet Stores share unique identifiers, such as design elements and

similarities of the counterfeit products offered for sale, establishing a logical relationship between

them and suggesting that Defendants’ illegal operations arise out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants attempt to avoid liability by going

to great lengths to conceal both their identities and the full scope and interworking of their illegal

counterfeiting operation. Plaintiffs are forced to file this action to combat Defendants’

counterfeiting of Plaintiffs’ registered trademark, as well as to protect unknowing consumers from

purchasing unauthorized ROBO FISH and ROBO ALIVE products over the Internet. Plaintiffs

have been and continue to be irreparably damaged through consumer confusion, dilution, and

tarnishment of their valuable trademark as a result of Defendants’ actions and seeks injunctive

and monetary relief.

        5.      This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this Judicial District, and the acts and events

giving rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois

and in this Judicial District. In addition, each Defendant has offered to sell and ship infringing

products into this Judicial District.

                                         THE PLAINTIFF

        6.      Plaintiff CREATIVE IMPACT INC. is a corporation incorporated under the law

of the British Virgin Islands.



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       7.     Plaintiff CREATIVE IMPACT (HONG KONG) LIMITED is a corporation

incorporated under the laws of Hong Kong.

       8.     Plaintiff ZURU LLC is a limited liability company organized under the laws of

Oregon with offices in El Segunda, California.

       9.     Plaintiff, ZURU INC. is a corporation incorporated under the law of the British

Virgin Islands and a Hong Kong registered company with offices in Kowloon, Hong Kong.

       10.    Plaintiff CREATIVE IMPACT INC. is the registered owner of the ROBO FISH

trademark (U.S. Trademark Registration No. 4,440,702). Plaintiff CREATIVE IMPACT

(HONG KONG) LIMITED is the registered owner of the ROBO ALIVE trademark (U.S.

Trademark Registration No. 5,294,215). Plaintiffs ZURU LLC and ZURU INC. are members of

the ZURU Group of companies, which has grown into a diversified global enterprise

(collectively “ZURU”). ZURU has earned an international reputation for quality, reliability and

value and is credited for many breakthroughs that have occurred in the toy industry. ZURU is an

exclusive licensee and official source of ROBO FISH and ROBO ALIVE products in the United

States, which include the following:




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       https://roboalive.zuru.com/products/

       11.    Since at least August 2011, the ROBO FISH mark is and has been the subject of

substantial and continuous marketing and promotion by Plaintiffs. The ROBO ALIVE mark has

been the subject of substantial and continuous marketing and promotion by Plaintiffs since at

least June 2016. Plaintiffs have and continue to widely market and promote the ROBO FISH and

ROBO ALIVE marks in the industry and to consumers. Plaintiffs’ promotional efforts include —




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by way of example, but not limitation — substantial print media, the ROBO FISH/ROBO

ALIVE website and social media sites, and point of sale materials.

        12.     The ROBO FISH and ROBO ALIVE trademarks are distinctive and identify the

merchandise as goods from Plaintiffs. The registrations for the ROBO FISH and ROBO ALIVE

trademarks constitute prima facie evidence of their validity and of Plaintiffs’ exclusive right to

use the trademarks pursuant to 15 U.S.C. § 1057(b).

       13.      The ROBO FISH and ROBO ALIVE trademarks qualify as famous marks, as that

term is used in 15 U.S.C. §1125 (c)(1), and have been continuously used and never abandoned.

        14.     Plaintiffs have expended substantial time, money, and other resources in

developing, advertising and otherwise promoting the ROBO FISH and ROBO ALIVE

trademarks. As a result, products bearing the ROBO FISH and ROBO ALIVE trademarks are

widely recognized and exclusively associated by consumers, the public, and the trade as being

products sourced from Plaintiffs.

                                         THE DEFENDANTS

        15.     Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within Illinois and in this Judicial

District, through the operation of the fully interactive commercial websites and online

marketplaces operating under the Defendant Internet Stores. Each Defendant targets the United

States, including Illinois, and has offered to sell and, on information and belief, has sold and

continues to sell counterfeit ROBO FISH and ROBO ALIVE products to consumers within the

United States, including Illinois and in this Judicial District.




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                         THE DEFENDANTS’ UNLAWFUL CONDUCT

       16.     The success of the ROBO FISH and ROBO ALIVE brand has resulted in its

counterfeiting. Plaintiffs have identified numerous domain names linked to fully interactive

websites and marketplace listings on platforms such as iOffer and Aliexpress, including the

Defendant Internet Stores, which were offering for sale, selling, and importing counterfeit

ROBO FISH and ROBO ALIVE products to consumers in this Judicial District and throughout

the United States. Defendants have persisted in creating the Defendant Internet Stores. Internet

websites like the Defendant Internet Stores are estimated to receive tens of millions of visits per

year and to generate over $135 billion in annual online sales. According to an intellectual

property rights seizures statistics report issued by the United States Department of Homeland

Security, the manufacturer’s suggested retail price (MSRP) of goods seized by the U.S.

government in fiscal year 2017 was over $1.2 billion. Internet websites like the Defendant

Internet Stores are also estimated to contribute to tens of thousands of lost jobs for legitimate

businesses and broader economic damages such as lost tax revenue every year.

       17.     Upon information and belief, Defendants facilitate sales by designing the

Defendant Internet Stores so that they appear to unknowing consumers to be authorized online

retailers, outlet stores, or wholesalers selling genuine ROBO FISH and ROBO ALIVE products.

Many of the Defendant Internet Stores look sophisticated and accept payment in U.S. dollars via

credit cards, Western Union, and PayPal. Defendant Internet Stores often include images and

design elements that make it very difficult for consumers to distinguish such counterfeit sites

from an authorized website. Defendants further perpetuate the illusion of legitimacy by offering

“live 24/7” customer service and using indicia of authenticity and security that consumers have




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come to associate with authorized retailers, including the McAfee® Security, VeriSign®, Visa®,

MasterCard®, and PayPal® logos.

       18.     Plaintiffs have not licensed or authorized Defendants to use the ROBO FISH and

ROBO ALIVE trademarks, and none of the Defendants are authorized retailers of genuine

ROBO FISH and ROBO ALIVE products.

       19.     Upon information and belief, Defendants also deceive unknowing consumers by

using the ROBO FISH and ROBO ALIVE trademarks without authorization within the content,

text, and/or meta tags of their websites to attract various search engines crawling the Internet

looking for websites relevant to consumer searches for ROBO FISH and ROBO ALIVE products.

Additionally, upon information and belief, Defendants use other unauthorized search engine

optimization (SEO) tactics and social media spamming so that the Defendant Internet Stores

listings show up at or near the top of relevant search results and misdirect consumers searching for

genuine ROBO FISH and ROBO ALIVE products. Further, Defendants utilize similar

illegitimate SEO tactics to propel new domain names to the top of search results after others are

shut down. As such, Plaintiffs also seek to disable Defendant Domain Names owned by

Defendants that are the means by which the Defendants could continue to sell counterfeit ROBO

FISH and ROBO ALIVE products.

       20.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their massive network of Defendant Internet

Stores. For example, many of Defendants’ names and physical addresses used to register the

Defendant Domain Names are incomplete, contain randomly typed letters, or fail to include cities

or states. Other Defendant Domain Names use privacy services that conceal the owners’ identity

and contact information. Upon information and belief, Defendants regularly create new websites



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and online marketplace accounts on various platforms using the identities listed in Schedule A to

the Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet

Store registration patterns are one of many common tactics used by the Defendants to conceal their

identities, the full scope and interworking of their massive counterfeiting operation, and to avoid

being shut down.

        21.     Even though Defendants operate under multiple fictitious names, there are numerous

similarities among the Defendant Internet Stores. For example, some of the Defendant websites

have virtually identical layouts, even though different aliases were used to register the respective

domain names. In addition, the counterfeit ROBO FISH and ROBO ALIVE products for sale in

the Defendant Internet Stores bear similarities and indicia of being related to one another,

suggesting that the counterfeit ROBO FISH and ROBO ALIVE products were manufactured by

and come from a common source and that, upon information and belief, Defendants are interrelated.

The Defendant Internet Stores also include other notable common features, including use of the

same domain name registration patterns, unique shopping cart platforms, accepted payment

methods, check-out methods, meta data, illegitimate SEO tactics, HTML user-defined variables,

domain redirection, lack of contact information, identically or similarly priced items and volume

sales discounts, similar hosting services, similar name servers, and the use of the same text and

images.

        22.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, counterfeiters like Defendants will often

register new domain names or online marketplace accounts under new aliases once they receive

notice of a lawsuit. Counterfeiters also often move website hosting to rogue servers located



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outside the United States once notice of a lawsuit is received. Rogue servers are notorious for

ignoring take down demands sent by brand owners. Counterfeiters also typically ship products in

small quantities via international mail to minimize detection by U.S. Customs and Border

Protection. A 2012 U.S. Customs and Border Protection report on seizure statistics indicated that

the Internet has fueled “explosive growth” in the number of small packages of counterfeit goods

shipped through the mail and express carriers.

       23.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can

continue operation in spite of Plaintiffs’ enforcement efforts. Upon information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their PayPal accounts

to off-shore bank accounts outside the jurisdiction of this Court. Indeed, analysis of PayPal

transaction logs from previous similar cases indicates that offshore counterfeiters regularly move

funds from U.S.-based PayPal accounts to China-based bank accounts outside the jurisdiction of

this Court.

       24.     Defendants, without any authorization or license from Plaintiffs, have knowingly

and willfully used and continue to use the ROBO FISH and ROBO ALIVE trademarks in

connection with the advertisement, distribution, offering for sale, and sale of counterfeit ROBO

FISH and ROBO ALIVE products into the United States and Illinois over the Internet. Each

Defendant Internet Store offers shipping to the United States, including Illinois and, on

information and belief, each Defendant has offered to sell counterfeit ROBO FISH and ROBO

ALIVE products into the United States, including Illinois.

       25.     Defendants’ use of the ROBO FISH and ROBO ALIVE trademarks in connection

with the advertising, distribution, offering for sale, and sale of counterfeit ROBO FISH and



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ROBO ALIVE products, including the sale of counterfeit ROBO FISH and ROBO ALIVE

products into Illinois, is likely to cause and has caused confusion, mistake, and deception by and

among consumers and is irreparably harming Plaintiffs.

                                             COUNT I

     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       26.     Plaintiffs repeat and incorporate by reference herein its allegations contained in

paragraphs 1-25 of this Complaint.

       27.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the registered ROBO FISH and

ROBO ALIVE trademarks in connection with the sale, offering for sale, distribution, and/or

advertising of infringing goods. The ROBO FISH and ROBO ALIVE trademarks are highly

distinctive marks. Consumers have come to expect the highest quality from Plaintiffs’ products

provided under the ROBO FISH and ROBO ALIVE trademarks.

       28.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products in connection

with the ROBO FISH and ROBO ALIVE trademarks without Plaintiffs’ permission.

       29.     Plaintiff CREATIVE IMPACT INC. is the registered owner of the ROBO FISH

trademark (U.S. Registration No. 4,440,702), Plaintiff CREATIVE IMPACT (HONG KONG)

LIMITED is the registered owner of the ROBO ALIVE trademark (U.S. Registration No.

5,294,215), and Plaintiffs ZURU LLC and ZURU INC. are exclusive licensees and official

sources of ROBO FISH and ROBO ALIVE products. The United States Registration for the

ROBO FISH and ROBO ALIVE trademarks (Exhibits 1 and 2) are in full force and effect. Upon

information and belief, Defendants have knowledge of Plaintiffs’ rights in the ROBO FISH and



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ROBO ALIVE trademarks and are willfully infringing and intentionally using counterfeits of the

ROBO FISH and ROBO ALIVE trademarks. Defendants’ willful, intentional, and unauthorized

use of the ROBO FISH and ROBO ALIVE trademarks is likely to cause and is causing

confusion, mistake, and deception as to the origin and quality of the counterfeit goods among the

general public.

       30.        Defendants’ activities constitute willful trademark infringement and

counterfeiting under 15 U.S.C. §§ 1114, 1117.

       31.        The injuries and damages sustained by Plaintiffs have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of counterfeit ROBO FISH and ROBO ALIVE products.

       32.        Plaintiffs have no adequate remedy at law, and, if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their reputation and the goodwill

of their well-known ROBO FISH and ROBO ALIVE trademarks.

                                              COUNT II

                    FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       33.        Plaintiffs repeat and incorporate by reference herein its allegations contained in

paragraphs 1-25 of this Complaint.

       34.        Defendants’ promotion, marketing, offering for sale, and sale of counterfeit ROBO

FISH and ROBO ALIVE products has created and is creating a likelihood of confusion, mistake,

and deception among the general public as to the affiliation, connection, or association with

Plaintiffs or the origin, sponsorship, or approval of Defendants’ counterfeit ROBO FISH and

ROBO ALIVE products by Plaintiffs.




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       35.        By using the ROBO FISH and ROBO ALIVE trademarks in connection with the

sale of counterfeit ROBO FISH and ROBO ALIVE products, Defendants create a false

designation of origin and a misleading representation of fact as to the origin and sponsorship of

the counterfeit ROBO FISH and ROBO ALIVE products.

       36.        Defendants’ conduct constitutes willful false designation of origin and

misrepresentation of fact as to the origin and/or sponsorship of the counterfeit ROBO FISH and

ROBO ALIVE products to the general public under 15 U.S.C. §§ 1114, 1125.

       37.        Plaintiffs have no adequate remedy at law, and, if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their reputation and the goodwill

of their brand.

                                              COUNT III

    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT

                                      (815 ILCS § 510/1, et seq.)

       38.        Plaintiffs repeat and incorporate by reference herein its allegations contained in

paragraphs 1-25 of this Complaint.

       39.        Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their counterfeit ROBO FISH and ROBO ALIVE products as those of Plaintiffs,

causing a likelihood of confusion and/or misunderstanding as to the source of their goods,

causing a likelihood of confusion and/or misunderstanding as to an affiliation, connection, or

association with genuine ROBO FISH and ROBO ALIVE products, representing that their

products have Plaintiffs’ approval when they do not, and engaging in other conduct which

creates a likelihood of confusion or misunderstanding among the public.




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       40.      The foregoing acts of Defendants constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510/1, et seq.

       41.      Plaintiffs have no adequate remedy at law, and Defendants’ conduct has caused

Plaintiffs to suffer damage to their reputation and goodwill. Unless enjoined by the Court,

Plaintiffs will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment against Defendants and each of them as

follows:

       1.       That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them

be temporarily, preliminarily, and permanently enjoined and restrained from:

             a. using the ROBO FISH and ROBO ALIVE trademarks or any reproductions,

                counterfeit copies, or colorable imitations thereof in any manner in connection

                with the distribution, marketing, advertising, offering for sale, or sale of any

                product that is not a genuine ROBO FISH or ROBO ALIVE product or is not

                authorized by Plaintiffs to be sold in connection with the ROBO FISH and ROBO

                ALIVE trademarks;

             b. passing off, inducing, or enabling others to sell or pass off any product as a

                genuine ROBO FISH or ROBO ALIVE product or any other product produced by

                Plaintiffs that is not Plaintiffs’ or not produced under the authorization, control, or

                supervision of Plaintiffs and approved by Plaintiffs for sale under the ROBO

                FISH and ROBO ALIVE trademarks;




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     c. committing any acts calculated to cause consumers to believe that Defendants’

        counterfeit ROBO FISH and ROBO ALIVE products are those sold under the

        authorization, control, or supervision of Plaintiffs, or are sponsored by, approved

        by, or otherwise connected with Plaintiffs;

     d. further infringing the ROBO FISH and ROBO ALIVE trademarks and damaging

        Plaintiffs’ goodwill;

     e. otherwise competing unfairly with Plaintiffs in any manner;

     f. shipping, delivering, holding for sale, transferring, or otherwise moving, storing,

        distributing, returning, or otherwise disposing of, in any manner, products or

        inventory not manufactured by or for Plaintiffs, nor authorized by Plaintiffs to be

        sold or offered for sale, and which bear any Plaintiff trademark, including the

        ROBO FISH and ROBO ALIVE trademarks, or any reproductions, counterfeit

        copies, or colorable imitations thereof;

     g. using, linking to, transferring, selling, exercising control over, or otherwise owning

        the Online Marketplace Accounts, the Defendant Domain Names, or any other

        domain name or online marketplace account that is being used to sell or is the

        means by which Defendants could continue to sell counterfeit ROBO FISH and

        ROBO ALIVE products; and

     h. operating and/or hosting websites at the Defendant Domain Names and any other

        domain names registered or operated by Defendants that are involved with the

        distribution, marketing, advertising, offering for sale, or sale of any product bearing

        the ROBO FISH and ROBO ALIVE trademarks or any reproduction, counterfeit

        copy or colorable imitation thereof that is not a genuine ROBO FISH or ROBO



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               ALIVE product or not authorized by Plaintiffs to be sold in connection with the

               ROBO FISH and ROBO ALIVE trademarks; and

       2.      That Defendants, within fourteen (14) days after service of judgment with notice of

entry thereof upon them, be required to file with the Court and serve upon Plaintiffs a written report

under oath setting forth in detail the manner and form in which Defendants have complied with

paragraph 1 above;

       3.      Entry of an Order that, at Plaintiffs’ choosing, the registrant of the Defendant

Domain Names shall be changed from the current registrant to Plaintiffs, and that the domain

name registries for the Defendant Domain Names, including, but not limited to, VeriSign, Inc.,

Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall

unlock and change the registrar of record for the Defendant Domain Names to a registrar of

Plaintiffs’ selection, and that the domain name registrars take any steps necessary to transfer the

Defendant Domain Names to a registrar of Plaintiffs’ selection; or that the same domain name

registries shall disable the Defendant Domain Names and make them inactive and untransferable;

       4.      Entry of an Order that, upon Plaintiffs’ request, those in privity with Defendants

and those with notice of the injunction, including any online marketplaces such as iOffer and

Alibaba Group Holding Ltd., Alipay.com Co., Ltd., and any related Alibaba entities

(collectively, “Alibaba”), social media platforms such as Facebook, YouTube, LinkedIn, Twitter,

Internet search engines such as Google, Bing and Yahoo, web hosts for the Defendant Domain

Names, and domain name registrars, shall:

            a. disable and cease providing services for any accounts through which Defendants

               engage in the sale of counterfeit ROBO FISH and ROBO ALIVE products using




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               the ROBO FISH and ROBO ALIVE trademarks, including any accounts

               associated with the Defendants listed on Schedule A;

            b. disable and cease displaying any advertisements used by or associated with

               Defendants in connection with the sale of counterfeit ROBO FISH and ROBO

               ALIVE products using the ROBO FISH and ROBO ALIVE trademarks; and

            c. take all steps necessary to prevent links to the Defendant Domain Names

               identified on Schedule A from displaying in search results, including, but not

               limited to, removing links to the Defendant Domain Names from any search

               index.

       5.      That Defendants account for and pay to Plaintiffs all profits realized by

Defendants by reason of Defendants’ unlawful acts herein alleged, and that the amount of

damages for infringement of the ROBO FISH and ROBO ALIVE trademarks be increased by a

sum not exceeding three times the amount thereof as provided by 15 U.S.C. § 1117.

       6.      In the alternative, that Plaintiffs be awarded statutory damages pursuant to 15

U.S.C. § 1117(c) of not less than $1,000 and not more than $2,000,000 for each and every use of

the ROBO FISH and ROBO ALIVE trademarks;

       7.      That Plaintiffs be awarded its reasonable attorneys’ fees and costs; and

       8.      Award any and all other relief that this Court deems just and proper.

 Dated:     August 21, 2018                          Respectfully submitted,
                                                     DUNLAP BENNETT & LUDWIG, PLLC
                                                 By: /s/ Nicholas A. Kurtz
                                                     Nicholas A. Kurtz
                                                     ARDC No. 6320053
                                                     Dunlap Bennett & Ludwig, PLLC
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                                                     Chicago, IL 60603
                                                     (312) 868-0714
                                                     nkurtz@dbllawyers.com


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                                         Counsel for Plaintiffs
                                         CREATIVE IMPACT INC., CREATIVE
                                         IMPACT (HONG KONG) LIMITED,
                                         ZURU LLC, and ZURU INC.




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                               EXHIBIT 2
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Reg. No. 5,294,215           Creative Impact (Hong Kong) Limited (HONG KONG CORPORATION)
                             ROOM 1202 12/F, ENERGY PLAZA
Registered Sep. 26, 2017     92 GRANVILLE ROAD, TST EAST
                             HONG KONG HONG KONG 000
Int. Cl.: 28                 CLASS 28: Toys, games and playthings, namely, electronic action toys; electronic action
                             water toys; battery operated action toys; battery operated action water toys; Remote
Trademark                    controlled toys, namely, remote controlled electronic action toys, remote controlled electronic
                             aquatic toys; Radio-controlled toys, namely, radio controlled electronic action toys, radio
Principal Register           controlled electronic aquatic toys; Electronic toys, namely, Electronic action toys; Toy
                             creatures, namely, toy animals; Electronic toy animals and creatures, namely, toy animals

                             FIRST USE 6-1-2016; IN COMMERCE 7-4-2016

                             THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                             PARTICULAR FONT STYLE, SIZE OR COLOR

                             SER. NO. 87-143,926, FILED 08-19-2016
                             PETER T DANG, EXAMINING ATTORNEY
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      SCHEDULE A TO COMPLAINT – PROVISIONALLY FILED UNDER SEAL

No.          Seller Names                   Defendant Online Marketplace
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No.          Seller Names                   Defendant Online Marketplace
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No.          Seller Names                   Defendant Online Marketplace
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No.          Seller Names                   Defendant Online Marketplace
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No.          Seller Names                   Defendant Online Marketplace
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No.          Seller Names                   Defendant Online Marketplace
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No.          Seller Names                   Defendant Online Marketplace
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No.          Seller Names                   Defendant Online Marketplace
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No.          Seller Names                   Defendant Online Marketplace
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No.          Seller Names                   Defendant Online Marketplace
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